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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF TEXAS

McALLEN DIVISION
UNITED STATES OF AMERICA §
v. 5 Criminal No. M-20-0080
JOSE CRUZ 3

NOTICE OF PLEA AGREEMENT

COMES NOW the United States of America, hereinafter referred to as "the Government,"

by and through its United States Attomey for the Southern District of Texas and its Assistant

United States Attorney assigned to this matter, and would respectfully show the Court that the

Government and the Defendant have entered into the following plea agreement:

1.

Defendant agrees:

a.

b.

to plead guilty to Count Two of the Indictment and

to waive any and all interest in the asset(s) listed in the Notice of Forfeiture
and to the judicial or administrative forfeiture of any and all firearms,
weapons, and ammunition, seized in connection with the case. Defendant
agrees to waive any and all procedural notice requirements for forfeiture.

The Government will recommend:

a.

that the offense level decrease by 2 levels pursuant to U.S.S.G. § 3E1.1(a)
if the defendant clearly demonstrates acceptance of responsibility; and

that the remaining count of the indictment be dismissed at the time of
sentencing.

If the Defendant is not a citizen of the United States of America, a plea of guilty may

result in removal from the United States, denial of citizenship and denial of admission to the

United States in the future. Ifthe Defendant is a naturalized United States citizen, a plea of

guilty may result in denaturalization.

This document states the complete and only Plea Agreement between the United States of

America and the Defendant, and is binding only on the parties to this Agreement, and it
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supersedes all prior understandings, if any, whether written or oral, and cannot be modified other
than in writing and signed by all parties or on the record in Court. No other promises or
inducements have been or will be made to the Defendant in connection with this case, nor have
any promises or threats been made in connection with this plea.
ACKNOWLEDGMENTS:
I have read this agreement and carefully reviewed every part of it with my attorney. If]
have difficulty understanding the English language, ] have had a person fluent in the Spanish

language interpret this agreement to me.

Date: S- }~2 Oo Defendant: RiheL Gl ber Jose Cruz.

Iam the Defendant's counsel. I have carefully reviewed every part of this agreement
with the Defendant. 1 certify that this agreement has been translated to my client by a person
fluent in the Spanish language if my client is unable to read or has difficulty understanding the

English language.

Date: S- 1-20 MLD wv

Counsel for Defense

 

For the United States of America:

RYAN K. PATRICK

United States Attomey
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Assistant United‘States Attorney

APPROVED BY:

ML a

James H. Sturgis
Assistant United States Attorney in Charge
